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                      ATTACHMENT B
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



IN RE APPLICATION OF THE
UNITED STATES OF AMERICA FOR                                  ML NO.
AN ORDER PURSUANT TO
18 U.S.C. § 3512

Request from                     for Assistance
in a Criminal Matter:


Reference: DOJ REF. #


                                COMMISSIONER SUBPOENA

TO:



        I, Commissioner,                          9                         , Office of International

Affairs, acting pursuant to 18 U.S.C. § 3512, and this Court's Order thereunder dated

                  , for the purpose of rendering assistance to

command that you appear before me in Room                           in the building located at

                    , in the city of                    , in the state of                        , on

               , 20 , at        a.m./p.m. to provide testimony/documents regarding an alleged

violation of: the laws of                 , namely,                         , in violation of Section

      of the                Penal Code, and, that at the place and time aforesaid, you provide the

following:

       For production of documents, in lieu of appearing at the place and time aforesaid, you may

make arrangements with                                                      , Office of International

Affairs, at telephone number (202)                    , to deliver them no later than
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20 .

        For failure to attend and provide testimony and/or said records you may be deemed guilty

of contempt and liable to penalties under the law.


Date:
                                                     COMMISSIONER
                                                     [Insert Name of Assigned Attorney]
                                                     [Insert Title]
                                                     [Insert State] Bar Number [Insert #]
                                                     Office of International Affairs
                                                     Criminal Division, Department of Justice
                                                     1301 New York Avenue, N.W., Suite 800
                                                     Washington, D.C. 20530
                                                     (202) [Insert #] telephone
                                                     [Insert Identifier]@usdoj.gov
